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                United States Court of Appeals
                                 For the First Circuit
                                    _____________________

 No. 23-1389
                                    SHAWN MCBREAIRTY,

                                       Plaintiff, Appellant,

                                                 v.

    HEATH MILLER, in his personal and official capacities; SCHOOL BOARD OF RSU 22,

                                      Defendants, Appellees.
                                      __________________

                                          JUDGMENT

                                    Entered: February 21, 2024

         This cause came on to be heard on appeal from the United States District Court for the
 District of Maine and was argued by counsel.

          Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
 district court's decision is vacated, and the matter is remanded to the district court for further
 proceedings consistent with the opinion issued this day. No costs are awarded.


                                                      By the Court:

                                                      Maria R. Hamilton, Clerk


 cc: Hon. Nancy Torresen, Christa Berry, Clerk, United States District Court for the District of
 Maine, Brett D. Baber, Marc John Randazza, Jay Marshall Wolman, Robert J. Morris II, Melissa
 A. Hewey, Susan M. Weidner, John Michael Connolly, Brett Robert Nolan, Jason Walta, Philip
 A. Hostak, Benjamin Kittredge Gran
